














IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD-0419-07




										

LLOYD MURRAY, Appellant
			

  

v.
					

  										

THE STATE OF TEXAS


  


  

ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW


FROM THE TWELFTH COURT OF APPEALS

SMITH COUNTY




Per curiam. KEASLER and HERVEY, JJ., dissent.


ORDER

	The petition for discretionary review violates Rules of Appellate Procedure 9.3 &amp;
68.4(i) because the original petition is not accompanied by 11 copies, and the original
petition does not contain a copy of the opinion of the court of appeals.  The petition is struck. 
See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition must be filed in the
Court of Criminal Appeals within thirty days after the date of this order.

En banc

Delivered: June 6, 2007.

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